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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 ABILENE DIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

                                                           NO. l:20-CR-066-01-H

JOSEPH GILLIAM (I),
  Defendant.


                  OR.DER ACCEPTING R-EPORT AND R.ECOMMENDATION
                      OF TIIE UMTED STATES MAGISTRATE JI,JDGE
                            CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$   636OXl), the undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.
                             /
         DatedNovember      ?    ,2020.



                                            JATyES WESLEY HENDRIX
                                                    STATES DISTRICT JUDGE
                                             YNITED
